                     IN THE UNITED STATES DISTRICT COURT FOR THE
                             MIDDLE DISTRICT OF TENNESSEE
                                  NASHVILLE DIVISION

JOHN DOE,                                           )
                                                    )
     Plaintiff,                                     )
                                                    )
v.                                                  )        NO. 3:18-cv-00569
                                                    )
VANDERBILT UNIVERSITY, et al.,                      )        JUDGE CAMPBELL
                                                    )        MAGISTRATE JUDGE FRENSLEY
     Defendants.                                    )

                                              ORDER

         Pending before the Court is Plaintiff’s Motion to Seal Original Complaint (Doc. No. 6).

 Through the Motion, Plaintiff requests the Court permit him “to substitute an Amended

 Complaint for this Original Complaint placed under seal,” and “to proceed under pseudonym.”

 Plaintiff contends that requiring him to proceed under his name would disclose information of

 the personal intimacy and would disclose educational records protected from disclosure by the

 Family Educational Rights and Privacy Act.

         The Motion is GRANTED as follows: Plaintiff shall be permitted to substitute the

 complaint currently filed at Docket No. 1 with a version that does not refer to Plaintiff or the

 alleged victim by name. Plaintiff may refer to himself and the alleged victim by initials or

 pseudonym, pending further order of the Court. The Clerk is directed to remove the complaint

 currently filed at Docket No. 1 from the docket.

          It is so ORDERED.


                                                        __________________________________
                                                        WILLIAM L. CAMPBELL, JR.
                                                        UNITED STATES DISTRICT JUDGE




     Case 3:18-cv-00569 Document 10 Filed 06/22/18 Page 1 of 1 PageID #: 106
